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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

NICK VINCENT FLOR,

       Plaintiff,

v.                                                           Cause No. 1:20-cv-00027-JAP-LF


THE UNIVERSITY OF NEW MEXICO;
CAMILLE CAREY, individually
and in her official capacity, ANGELA CATENA,
individually and in her official capacity,
SARA M. CLIFFE, individually
and in her official capacity, and EVA CHAVEZ,

       Defendants.


    MEMORANDUM BRIEF IN SUPPORT OF DEFENDANTS UNIVERSITY OF NEW
    MEXICO, CAMILLE CAREY, ANGELA CATENA, AND SARA CLIFFE’S MOTION
             TO PARTIALLY DISMISS FIRST AMENDED COMPLAINT

       Defendants University of New Mexico (“UNM”), Camille Carey, Angela Catena, and Sara

Cliff, by and through their attorneys, move this Court for an Order to Dismiss Counts I, II, III, V,

and VI of Plaintiff’s First Amended Complaint (Doc. 17). Plaintiff is a professor at UNM who

claims that UNM 1 and three of its employees, Camille Carey, Angela Catena, and Sara M. Cliffe

(collectively, “Individual Defendants”)(together “UNM Defendants”), conducted an improper and




1
  UNM, as named by Plaintiff, must be dismissed from this lawsuit because it is not an entity that
may be sued. “The regents of the university and their successors in office shall constitute a body
corporate under the name and style of, the regents of the university of New Mexico, with the right,
as such, of suing and being sued . . . .” See NMSA 1978, § 21-7-4 (1889). Plaintiff has not alleged
any claims against the Board of Regents of the University of New Mexico. Because UNM, as
named, is not subject to suit, it must be dismissed from this lawsuit as it is not a proper party.
Without waiving this argument, the facts and discussion below accept, solely for the purposes of
this Motion and in the interest of judicial efficiency, that the Board of Regents, rather than UNM,
is a named defendant.
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biased investigation into his misconduct involving a graduate student, which ultimately led to a

one year suspension for violations of UNM Policy. With the exception of Count IV of Plaintiff’s

First Amended Complaint (“Complaint”), Counts I, II, III, V, and VI are properly dismissed

pursuant to Fed. R. Civ. P. 12(b)(6) as each of these claims fail to satisfy the plausibility

requirements under the Iqbal/Twombly standard. 2

                                        INTRODUCTION

       In Count I of the Complaint, Plaintiff alleges claims against UNM and the Individual

Defendants (in both their individual and official capacities) for purported due process violations

of Article II, § 18 of the New Mexico Constitution and the 14th Amendment of the United States

Constitution under 42 U.S.C. § 1983 seeking money damages.               See Complaint, Count I.

Specifically, Plaintiff alleges that the UNM Defendants “depriv[ed him] of his protected due

process rights, including his liberty interest in his good name, reputation, honor and integrity, the

opportunity to pursue employment, and his protected property interest in his continued

employment, Defendants violated Plaintiff’s right to due process in violation of Article II, Section

18 of the New Mexico Constitution and the Fourteenth Amendment to the United States

Constitution.” Id., ¶ 191.

       In Counts II and III, Plaintiff is seeking injunctive relief and declaratory relief associated

with the same purported constitutional violations. Id., Counts II and III. Specifically, in Count II,

Plaintiff seeks “a reversal of the outcome and findings of the UNM investigation, expungement of

Plaintiff’s personnel file reflecting the improper findings, discipline, and sanction; production of

verification of such expungement to Plaintiff, a prohibition on UNM disclosing Plaintiff’s




2
 Count VII of the Complaint is not alleged against the UNM Defendants and is also not the subject
of the present Motion.
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personnel files reflecting the finding of a policy violation and discipline, and lifting of the one-

year suspension so that Plaintiff may return to work at UNM.” Id., ¶ 199). 3 In Count III, Plaintiff

seeks a determination pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, that “the

investigative and sanctioning[, and appeal] processes utilized by Defendants are unconstitutional,

improper, and violative of Plaintiff’s rights, and, as such, inadequate and invalid as a matter of

law.” Id., ¶ 203-204.

        UNM and the Individual Defendants in their official capacities are not a “person” subject

to suit under 42 U.S.C. § 1983. Similarly, as to the Individual Defendants named in their individual

capacities, Plaintiff has failed to allege any specific conduct of these individuals to state a plausible

claim for purported due process violations. Finally, the UNM Defendants are entitled to sovereign

immunity for any claims premised on purported violations of the New Mexico Constitution as

there has not been a waiver of immunity for any such violations under the New Mexico Tort Claims

Act. Accordingly, Count I against UNM and the Individual Defendants in their individual and

official capacities is properly dismissed. Because Count I fails to state a claim under Rule 12(b)(6),

Counts II and III seeking injunctive and declaratory relief associated with the purported due

process violations must also be dismissed. 4

        In Counts V and VI, Plaintiff alleges claims for breach of contract and breach of the implied

covenant of good faith and fair dealing against UNM. Id., Counts V and VI. Because these claims

are not premised a valid written contract, and notably there are no allegations stating or inferring




3
  On April 20, 2020, after an evidentiary hearing, Magistrate Judge Laura Fashing issued her
Proposed Findings and Recommended Disposition denying Plaintiff’s motion for a temporary
restraining order and preliminary injunction. [Doc. 36] That decision is pending further briefing
by the parties and review by this Court.
4
  Plaintiff’s claim for declaratory relief premised on purported violations of Title IX as alleged in
Count IV are not the subject of the present Motion.
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the existence of a valid written contract, UNM has sovereign immunity against Plaintiff’s

contractual claims. Counts V and VI are properly dismissed under Rule 12(b)(6).

                                    STANDARD OF REVIEW

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), the Court may dismiss a complaint

if it fails to “state a claim upon which relief can be granted.” “In reviewing a motion to dismiss,

the] court must look for plausibility in the complaint . . . . Under this standard, a complaint must

include ‘enough facts to state a claim to relief that is plausible on its face.’” Corder v. Lewis Palmer

Sch. Dist. No. 38, 566 F.3d 1219, 1223-24 (10th Cir. 2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Tenth Circuit has held that

a two-step process should be utilized when analyzing a motion to dismiss: first, the court must

identify conclusory allegations not entitled to the assumption of truth, and, second, the court must

determine whether the remaining factual allegations plausibly suggest the plaintiff is entitled to

relief. See Hall v. Witteman, 584 F.3d 859, 863 (10th Cir. 2009).

                                 PLAINTIFF’S ALLEGATIONS

        Plaintiff asserts numerous allegations regarding the nature of his relationship with

Defendant Chavez and his beliefs about whether the discipline he received was proportional to his

actions. However, this Court is not charged with reviewing the findings, conclusions, or outcome

of UNM’s investigation process.         Rather, the Court must determine whether Plaintiff has

sufficiently alleged or can ultimately state a claim showing that his state and federal due process

rights were violated or that his contractual claims are premised on a valid written contract. Only




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the following allegations in the Complaint (which are accepted as true solely for the purposes of

this motion) are relevant to that analysis:

•   Plaintiff and Defendant Chavez, then a UNM graduate student, exchanged emails of a sexual
    nature in the summer of 2018. (Complaint ¶¶ 16-29)

•   After the relationship soured, Plaintiff and Defendant Chavez filed separate claims against
    each other with UNM’s Office of Equal Opportunity (“OEO”). (Complaint ¶ 37)

•   The OEO conducted an investigation and issued a report which included the testimony of
    anonymous witnesses. (Complaint ¶¶ 40, 44, 46)

•    Plaintiff received the report and was allowed to provide additional information. (Complaint
    ¶ 45)

•   Defendant Cliffe assumed the investigator role and, based on the investigation report, drafted
    a preliminary determination with proposed findings. (Complaint ¶¶ 51-53)

•   Plaintiff was allowed to respond to the preliminary determination with additional information,
    and he did so, but he believes he should also have had a hearing. (Complaint ¶¶ 55-56, 63)

•   The OEO, through Defendants Cliffe (the OEO investigator) and Catena (the OEO’s Title IX
    Coordinator) issued a final letter of determination finding that Plaintiff violated UNM policy.
    (Complaint ¶ 62)

•   Plaintiff appealed the final letter of determination to the UNM President (who is not a named
    defendant) and it was denied. (Complaint ¶¶ 70)

•   Plaintiff then appealed the final letter of determination to UNM’s Board of Regents (not a
    named defendant) which declined to consider the appeal. (Complaint ¶¶ 71-72)

•   UNM’s Senior Vice Provost (who is not a named defendant) appointed Defendant Carey (the
    Vice Dean of UNM’s law school) as the sanctioning party. (Complaint ¶ 103)

•   After a process that included a number of different UNM employees (only three of whom are
    named defendants) whose opinions on the severity of the possible sanction ranged from
    training to termination, Plaintiff was suspended without pay for one-year, and prohibited from
    working for more than 39 days for any employer other than UNM. (Complaint ¶¶ 75-91, 114-
    115)

•   Plaintiff exercised his right to appeal the sanction to UNM’s Peer Review Committee and
    underwent a Peer Review Hearing on February 21, 2020. Plaintiff believes the process was


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     unfair because Defendant Carey is an attorney, and he was not represented by counsel at the
     hearing. 5 (Complaint ¶¶ 148, 151, 152) 6

•    UNM created express contracts when Plaintiff accepted an offer of employment as a faculty
     member and when Plaintiff was granted tenure as an Associate Professor. (Complaint ¶ 230)

•    Plaintiff accepted the offers of employment and tenure in reliance on the understanding and
     reasonable expectation that UNM would fairly and without bias implement and enforce the
     provisions and policies set forth in its official publications. (Complaint ¶ 231)

•    UNM’s express contracts with Plaintiff included an implied covenant of good faith and fair
     dealing which implicitly guaranteed that any investigatory and disciplinary proceedings would
     be conducted with basic fairness. (Complaint ¶ 236)


                                          ARGUMENT

I.      COUNT I OF THE COMPLAINT SHOULD BE DISMISSED AGAINST UNM AND
        THE INVIDIVIDUAL DEFENDANTS IN THEIR OFFICIAL CAPACITIES
        BECAUSE THESE DEFENDANTS ARE NOT “PERSONS” SUBJECT TO SUIT
        UNDER SECTION 1983
        To establish a claim for damages under Section 1983, a plaintiff must show deprivation of

a civil right by a “person” acting under color of state law. Will v. Mich. Dep’t of State Police, 491

U.S. 58, 71 (1989). It is well established that “a state agency is not a ‘person’ within the meaning

of § 1983.” Will, 491 U.S. at 65. UNM is a state university, and as such, is a state agency of the

state of New Mexico and cannot be sued under Section 1983. See Buchwald v Univ. of N.M. Sch.

Of Med., 159 F.3d 487, 494 (10th Cir. 1998); and Watson v. Univ. of Utah Med. Ctr., 75 F.3d 569,

575 (10th Cir. 1996) (“Our cases have consistently found state universities are arms of the state.”)

Likewise, claims against the Individual Defendants in their official capacities also fail as official

capacity claims are treated as claims against UNM. See Porro v. Barnes, 624 F.3d 1322, 1328



5
  While not relevant to the preset Motion, Defendant Carey is not licensed to practice law in the
state of New Mexico and did not defend the sanctioning process at the Peer Review Hearing as an
attorney.
6
  The Peer Review Hearing was a full evidentiary hearing. Since the filing of Plaintiff’s Complaint,
on March 6, 2020, the Peer Review Committee upheld the sanction against Plaintiff.
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(10th Cir. 2010) (“[S]uing individual defendants in their official capacities under § 1983…is

essentially another way of pleading an action against the [governmental entity] they represent.”)

(cited authority omitted).

       Plaintiff’s Section 1983 claim for money damages brought against UNM and the Individual

Defendants in their official capacities fail. Under no set of facts can Plaintiff state a plausible

Section 1983 claim against these Defendants. Count I against UNM and the Individual Defendants

in their official capacities seeking money damages should be dismissed with prejudice.

II.    THE ALLEGATIONS AGAINST THE INDIVIDUAL DEFENDANTS IN THEIR
       INDIVIDUAL CAPACITIES ARE INSUFFICIENT TO STATE A PLAUSIBLE
       CLAIM UNDER SECTION 1983.

       While the caption of the Complaint asserts that Defendants Carey, Catena, and Cliffe are

sued in their “individual capacities,” Plaintiff’s pleading fails to satisfy the more stringent pleading

requirements of Section 1983 necessary to state individual capacity claims. “[C]onclusory

allegations are not sufficient to state a constitutional violation” against an individual defendant.

Jenkins v. Wood, 81 F.3d 988, 994-995 (10th Cir. 1996). Rather, the pleading standard “demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft, 556 U.S. at

676. A complaint that “tenders ‘naked assertions’ devoid of ‘further factual enhancement’” does

not meet the standard required by Fed. R. Civ. P 8(a)(2). Id. (quoting Bell, 550 U.S. at 557).

       Furthermore, because Section 1983 is a “vehicle[] for imposing personal liability on

government officials, [the courts] have stressed the need for careful attention to particulars,

especially in lawsuits involving multiple defendants.” Pahls v. Thomas, 718 F.3d 1210, 1225-1226

(10th Cir. 2013). “When various officials have taken different actions with respect to a plaintiff,

the plaintiff's facile, passive-voice showing that his rights ‘were violated’ will not suffice.

Likewise insufficient is a plaintiff’s more active-voice yet undifferentiated contention that

‘defendants’ infringed his rights. See Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504, 532-33
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(10th Cir. 1998); see also Brown v. Montoya, 662 F.3d 1152, 1165 (10th Cir. 2011) (“The

Complaint refers to actions of ‘Defendants,’ but that is not sufficient to show how Secretary

Williams ‘might be individually liable for deprivations of [Mr. Brown's] constitutional rights.’”

(citation omitted). Rather, “it is particularly important’ that plaintiffs ‘make clear exactly who is

alleged to have done what to whom, . . . as distinguished from collective allegations.’” Kan. Penn

Gaming, LLC v. Collins, 656 F.3d 1210, 1215 (10th Cir. 2011) (citation omitted, alteration in

original)

       Although Plaintiff nominally claims that the Individual Defendants are also sued in their

personal capacities, he mentions them by name in only four of the twenty-six paragraphs of Count

I with the four following general and vague allegations:

   •   Defendant Cliffe, with the approval and supervision of Defendant Catena, conducted an
       investigation that was reckless and grossly negligent. (Complaint ¶ 179)

   •   Defendant Cliffe was the investigator, factfinder, and decision maker. (Complaint ¶ 180)

   •   Defendant Catena’s interference with the investigation and sanctioning process deprived
       Plaintiff of due process. (Complaint ¶ 181)

   •   Defendant Carey’s actions throughout the sanctioning process deprived Plaintiff of due
       process. (Complaint ¶ 182)

       The remainder of the allegations in Count I are pled generically against “Defendants,” and

are undoubtedly targeted against the Individual Defendants in their official capacities. For

example, he claims that Defendants “act[ed] under color of state law and in concert with one

another,” “created a policy, pattern, and practice[,]” and have “a custom and practice of

disregarding and violating faculty members’ constitutional rights.” (Complaint ¶¶ 183, 186, 193).

       Plaintiff failed to make any fact specific allegations of conduct that demonstrates how the

individually named Defendants purportedly violated Plaintiff’s due process rights. See Count I.

His unadorned assertions that the Individual Defendants collectively wronged him are insufficient

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to state a Section 1983 claim against them in their individual capacities. As here, a complaint that

does not provide the Individual Defendants with fair notice as to how Plaintiff believes they

personally, intentionally deprived him of a civil right or why they may be subject to personal

damages because of their alleged conduct is insufficient to state a plausible claim. Plaintiff’s

Section 1983 claim against the Individual Defendants in their individually capacities must be

dismissed under Rule 12(b)(6) with prejudice.

III.   PLAINTIFF’S CLAIM FOR VIOLATIONS OF THE NEW MEXICO
       CONSTITUTION AGAINST THE UNM DEFENDANTS IS BARRED BY THE
       DOCTRINE OF SOVEREIGN IMMUNITY.

       In Count I Plaintiff relies on Article II, Section 18, of the New Mexico Constitution, which

provides that “[n]o person shall be deprived of life, liberty or property without due process of law.”

(Complaint ¶ 147). Irrespective of the potential merits of the claim or any facts pled in support of

the claim, the UNM Defendants are entitled to sovereign immunity for any claim premised on the

New Mexico Constitution.

       The New Mexico Tort Claims Act (“TCA”) generally grants immunity from tort liability

to state governmental entities and public employees acting within the scope of their employment

duties. Specifically, “governmental entities and public employees shall only be liable within the

limitations of the Tort Claims Act . . . .” NMSA 1978, § 41-4-2(A) (1976). The term “governmental

entity” is defined to mean “the state or any local public body as defined in Subsections C and H of

this Section.” Pursuant to NMSA 1978, Section 41-4-3(H), “state” or “state agency” is defined to

include the State of New Mexico and its “institutions.” The New Mexico Constitution, Article XII,

Section 11, establishes UNM as a “state educational institution,” and, therefore, UNM qualifies as

a “governmental entity” entitled to the immunity afforded by the TCA. As for the Individual

Defendants, the term “public employee” is defined within the TCA to mean any “officer, employee

or servant of a governmental entity.” NMSA 1978, § 41-4-3(F). As Plaintiff alleges, each of the
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Individual Defendants were employees of UNM (see Complaint ¶¶ 6-8); therefore, they are

indisputably “public employees” entitled to the immunity afforded by the TCA.

       Pursuant to NMSA 1978, § 41-4-4(A), the TCA provides that governmental entities and

public employees “are granted immunity from liability for any tort except as waived . . . by

Sections 41-4-5 through 41-4-12.” Id. (emphasis added). To avoid dismissal, a plaintiff’s cause

of action “must fit within one of the exceptions to the immunity granted to governmental entities

and public employees.” Begay v. State, 1985-NMCA-117, ¶ 8, 104 N.M. 483, 723 P.2d 252,

judgment rev’d on other grounds by Smialek v. Begay, 1986-NMSC-049, 104 N.M. 375, 721 P.2d

1306. In the absence of a specific waiver of immunity, a plaintiff’s tort claim against a

governmental entity and/or public employee “must be dismissed” with prejudice. See Pemberton

v. Cordova, 1987-NMCA-020, ¶ 6, 105 N.M. 476, 734 P.2d 254.

       The New Mexico Supreme Court has stated that “it is well established that ‘absent a waiver

of immunity under the Tort Claims Act, a person may not sue the state for damages for violation

of a state constitutional right.’” Valdez v. State, 2002-NMSC-028, ¶ 12, 132 N.M. 667, 54 P.3d 71

(quoting Ford v. Dep’t of Pub. Safety, 1994-NMCA-154, ¶ 26, 119 N.M. 405, 891 P.2d 546). The

New Mexico Court of Appeals has likewise held: “[i]n the absence of affirmative legislation, the

courts of this state have consistently declined to permit individuals to bring private lawsuits to

enforce rights guaranteed by the New Mexico Constitution, based on the absence of an express

waiver of immunity under the Tort Claims Act.” Barreras v. N.M. Corr. Dep’t, 2003-NMCA-027,

¶ 24, 133 N.M. 313, 62 P.3d 770; see also Wills v. Bd. of Regents of the Univ. of N.M., 2015-

NMCA-105, ¶ 29, 357 P.3d 453 (“Nor has Plaintiff demonstrated any legal bases upon which he

was entitled to seek damages for [UNM’s] alleged violation of his [state] constitutional right of

access to the courts.”). Here, there is no waiver under the TCA that allows Plaintiff to pursue a



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claim for damages against UNM or any of the Individual Defendants for alleged violations of his

state constitutional right to due process. Plaintiff has failed to state a claim, and his state

constitutional claim under Count I should be dismissed with prejudice.

IV.    PLAINTIFF’S CLAIMS FOR INJUNCTIVE AND DECLARATORY RELIEF FOR
       ALLEGED VIOLATIONS OF DUE PROCESS SHOULD BE DISMISSED

       In Counts II and III of the Complaint, Plaintiff seeks injunctive and declaratory relief for

the same alleged violations of his federal and state constitutional rights to due process.

Specifically, in Count II, Plaintiff seeks “a reversal of the outcome and findings of the UNM

investigation, expungement of Plaintiff’s personnel file reflecting the improper findings,

discipline, and sanction; production of verification of such expungement to Plaintiff, a prohibition

on UNM disclosing Plaintiff’s personnel files reflecting the finding of a policy violation and

discipline, and lifting of the one-year suspension so that Plaintiff may return to work at UNM.”

(Complaint ¶ 199). In Count III, Plaintiff seeks a determination pursuant to the Declaratory

Judgment Act, 28 U.S.C. § 2201, that “the investigative and sanctioning[, and appeal] processes

utilized by Defendants are unconstitutional, improper, and violative of Plaintiff’s rights, and, as

such, inadequate and invalid as a matter of law.” (Complaint ¶ 203-204).

       To the extent these claims for injunctive and declaratory relief are based on the federal

constitutional right to due process, the claim as brought against UNM fails because UNM is not a

“person” that can be sued under Section 1983. See McLaughlin v. Bd. of Trustees of State Colls.

of Colo., 215 F.3d 1168, 1172 (10th Cir. 2000) (affirming dismissal of claim for injunctive relief

as brought against state college board of trustees because the board of trustees was “not a ‘person’

for section 1983 purposes”). Notably, in his pleading, Plaintiff presents his claim for injunctive

relief against the UNM Defendants “accordingly to 42 U.S.C. § 1983” due to purported “due

process violations.” See Complaint, Count II, heading and ¶ 199.


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        The UNM Defendants acknowledge that a claim for prospective injunctive relief against

the Individual Defendants in their official capacities is theoretically viable. See Will, 491 U.S. at

71, n. 10 (“Of course a state official in his or her official capacity, when sued for injunctive relief,

would be a person under § 1983 because ‘official capacity actions for prospective relief are not

treated as actions against the State.’”). However, to state a plausible claim for prospective

injunctive relief against the Individual Defendants, Plaintiff must allege facts to demonstrate that

these Defendants have the authority to provide the injunctive relief sought by Plaintiff. See

Soloviev v. Goldstein, 104 F.Supp.3d 232, 245 (E.D.N.Y. 2015) (dismissing claim for

reinstatement against state college officials because the plaintiff failed to allege that the individuals

were in a position to grant the plaintiff’s reinstatement); and Klein v. Univ. of Kan. Med. Ctr., 975

F.Supp. 1408, 1417 (D. Kan. 1997) (dismissing claim against individual defendants in their official

capacities because “[n]one of the individuals that [plaintiff] has sued has the power to provide him

with the relief he seeks—reinstatement”).

        Here, Plaintiff has not alleged—nor could he truthfully allege—that any of the named

Individual Defendants have the authority to provide the injunctive relief that he seeks; to wit,

reversal of the UNM OEO findings, expungement of his personnel records, and lifting of the

suspension so that he may return to work. Finally, and most importantly, injunctive relief and

declaratory relief are remedies, not causes of action. See, e.g., Leon v. Summit Cnty. 2017 WL

5891771, at *5 (D. Utah Nov. 28, 2017) (slip op.) (“Injunctive relief is a remedy, not an

independent cause of action. Injunctive relief is available as a remedy only where a party prevails

on a separate legal theory. Because [plaintiff’s] Section 1983 claims fail, so too does her request

for injunctive relief.”); Essling’s Homes Plus, Inc. v. City of St. Paul, 356 F.Supp.2d 971, 984 (D.

Minn. 2004) (“A successful action for declaratory judgment requires a viable underlying cause of



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action.”). For these reasons, the Court should dismiss Plaintiff’s requests for injunctive and

declaratory relief as pled in Counts II and III.

V.  PLAINTIFF’S CONTRACTUAL CLAIMS ARE NOT PREMISED ON A VALID
WRITTEN CONTRACT AND ARE BARRED BY THE DOCTRINE OF SOVEREIGN
IMMUNITY.

       As noted above, UNM is a governmental entity. See supra., Section III. Pursuant to

NMSA 1978, § 37-1-23(A), “[g]overnmental entities are granted immunity from actions based on

contract, except for actions based on a valid written contract.” Id. (emphasis added). The purpose

of granting a governmental entity sovereign immunity is “to protect the public treasury….To

protect the taxpayer, the statute puts the risk of loss on those seeking promises from government;

it requires at a minimum that they obtain a valid written contract in order to maintain a lawsuit to

enforce those promises.” Univ. of N.M. Police Officer’s Ass’n v. Univ. of N.M., 2005-NMSC-030,

¶ 21, 138 N.M. 360. Accordingly, a party is not permitted to recover on an unwritten contract, as

the governmental entity is “immune from suit.” Campos de Suenos, Ltd. v. County of Bernalillo,

2001-NMCA-043, ¶ 14, 130 N.M. 563 (quoting Handmaker v. Henney, 1999-NMSC-043, ¶ 14,

128 N.M. 328).

       While in limited circumstances an implied-in-fact employment contract can satisfy the

writing requirement of Section 37-1-23(A), this narrow exception still requires some allegation by

Plaintiff setting forth a writing to support the existence of an implied-in-fact contract. See Wills v.

Bd. Of Regents of Univ. of New Mexico, 2015-NMCA-105, ¶ 25, 357 P.3d 453, 458-59 (citing to

Garcia v. Middle Rio Grande Conservancy District, 1996-NMSC-029, ¶ 19, 121 N.M. 728, the

court noted that “Garcia stands for the proposition that where an employment contract may be

implied from ‘written terms’ it may be considered a ‘valid written contract’ for the purposes of

satisfying Section 37-1-23(A).”). However, the writing relied upon by Plaintiff to support an



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implied-in-fact employment contract must be specific and promissory in nature as opposed to

generalized guidelines or a statement of a general approach. See e.g., Garcia, 1996-NMSC-029,

¶ 13 (Supporting the existence of an implied-in-fact employment contract because “[t]he Personnel

Policy [was] so specific so that employees may reasonably rely on its provisions and may expect

that the [employer] will conform as well.”); and Gerald v. Locksley, 785 F.Supp.2d 1074, 1145

(D. N.M. 2011) (rejecting argument that UNM’s Handbook created contractual rights in favor of

a former employee because it was not “sufficiently specific, explicit, or mandatory to create a

reasonable expectation that UNM would provide a particular response.”). An implied-in-fact

contract can only be created by a writing that creates a “reasonable expectation” that the employer

will follow specified procedures using “definite, specific, or explicit” representations made by the

employer. Hartbarger v. Frank Paxton Co., 1993-NMSC-029, ¶ 14, 115 N.M. 665, and see Wills,

2015-NMCA-105, ¶ 25 (noting that a plaintiff may not rely upon the conduct of the parties to

support the existence of an implied-in-fact contract under Section 37-1-23(A), but rather, must

come forward with a written terms to establish the existence of an implied-in-fact contract).

       In his Complaint, Plaintiff alleges that “express contracts” were created between UNM and

Plaintiff. See Complaint, ¶¶ 230 and 236. Notably lacking from the Complaint are any allegations

that a written employment contract existed between Plaintiff and UNM. See Complaint. Further,

there are no allegations in Plaintiff’s Complaint directing this Court or the Defendants to the

existence of any writing to establish the existence of an implied-in-fact contract to satisfy the

writing requirement of Section 37-1-23(A). Rather, Plaintiff generally alleges that “Plaintiff

accepted the offers of employment and tenure in reliance on the understanding and reasonable

expectation that Defendant University would fairly and without bias implement and enforce the

provisions and policies set forth in its official publications.” See Complaint, ¶ 231. Plaintiff fails



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to identify any specific provision or policy from UNM’s “official publications” in support of his

contract theories. This is not enough to satisfy Section 37-1-23(A)’s writing requirement and to

state a plausible claim for breach of contract against a governmental entity. Count V of Plaintiff’s

Complaint must be dismissed.

          Similarly, Plaintiff’s claims for breach of the implied covenant of good faith and fair

dealing must also be dismissed. The implied covenant of good faith and fair dealing is an implied

contractual term premised upon the existence of an underlying contractual agreement. See

Bourgeous v. Horizon Healthcare Corp., 1994-NMSC-038, ¶ 16, 117 N.M. 434, and UJI 13-832

NMRA (“To prove that [defendant] breached the promise of good faith and fair dealing, [plaintiff]

must prove that [defending] acted in bad faith in performing the contract or wrongfully and

intentionally used the contract to harm [plaintiff].”) (emphasis added). Because there are no

allegations by Plaintiff to support the existence of a valid written contract to satisfy the writing

requirement of Section 37-1-23(A), Plaintiff cannot proceed on a claim for breach of the implied

covenant of good faith and fair dealing that is similarly not supported by a written agreement. Id.,

and cf. Sanders v. FedEx Ground Package Sys., Inc. 2008-NMSC-040, ¶¶ 7-9, 188 P.3d 1200,

1203 (If there is no contract, there is no cause of action for breach of the implied covenant of good

faith and fair dealing); and Azar v. Prudential Ins. Co., 2003-NMCA-062, ¶ 53, 68 P.3d 909

(same).

          Moreover, because the implied covenant of good faith and fair dealing is by its terms an

unwritten contract imposed under law, even if Plaintiff was able to salvage his breach of contract

claim, Count VI should still be dismissed under the doctrine of sovereign immunity. In Eaton,

Martinez & Hart, P.C. v Univ. of New Mexico Hospital, 1997-NMSC-015, ¶ 12, 123 N.M. 76, the

court held that governmental entities are immune from implied-in-law contract claims such as



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“quantum meruit, implied-in-law contract or unjust enrichment” under the Section 37-1-23(A)

sovereign immunity provision.

        There are no allegations in Plaintiff’s Complaint to satisfy the writing requirement of

Section 37-1-23(A), and accordingly, Plaintiff’s claims for breach of contract and breach of the

implied covenant of good faith of fair dealing are barred by the sovereign immunity doctrine.

Counts V and VI should be dismissed with prejudice.

                                          CONCLUSION

       For the foregoing reasons, the UNM Defendants respectfully request an Order dismissing

Counts I, II, III, V, and VI of Plaintiff’s Complaint with prejudice for the reasons discussed herein,

and for such other and further relief the Court deems just.

                                       Respectfully Submitted,

                                       CONKLIN, WOODCOCK & ZIEGLER, P.C.

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                                       Certificate of Service

       I HEREBY CERTIFY that on May 11, 2020 , a true and correct copy of the above and

foregoing was electronically filed with the clerk of the court by using the CM/ECF system which

caused all counsel of record to be served by electronic means.


/s/ Alisa Wigley-DeLara
Alisa Wigley-DeLara
Carol Dominguez Shay

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